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 8
 9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12
       MARINA BORAWICK,                         CASE NO. CV17-02036-MRW
13                                              Mag. Michael R. Wilner, Ctrm. 550, 5th Floor

14                 Plaintiff,

15           v.
16                                              NOTICE OF SETTLEMENT
17 CITY OF LOS ANGELES, a public
18 entity, OFFICER CORREA, and
   DOES 1-10.
19
20
                   Defendants.
21
22
23
      TO THE HONORABLE COURT:
24
            On April 3, 2023, Plaintiff, MARINA BORAWICK, and Defendant CITY OF
25
      LOS ANGELES reached a settlement which also includes the claims asserted against
26
      the officers. The settlement requires the approval of both the Mayor and the City
27
      Council for the City of Los Angeles. It is likely that the matter will not be presented
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 1 to the full City Council for about two months. If the settlement is approved, it is
 2 expected that payment of the funds will be made after July 1, 2023, which is the
 3 beginning of the new fiscal year. Due to these circumstances, the City Defendants
 4 request the following at this time:
 5          1.    That the court hold a status conference re: settlement on Friday, August 4,
 6 2023 at 10:00 a.m. by remote means;
 7          2.    That the parties be ordered to file no later than July 28, 2023, a joint status
 8 report re: settlement, wherein they will inform the Court whether additional time is
 9 needed to finalize the settlement or whether they plan to file a Stipulation for Dismissal
10 prior to August 2, 2023.;
11          3.    If Plaintiff and City Defendants file a Stipulation for Dismissal pursuant
12 to FRCP 41(a) by 11:59 p.m. on August 2, 2023, that no appearances shall be required
13 on August 4, 2023.;
14          4.    The parties also agree that should the Mayor or City Council decline to
15 approve the Parties’ settlement, trial shall recommence in this matter as to the damages
16 phase in front of a different jury.
17
18 Dated: April 4, 2023                SCHONBRUN SEPLOW HARRIS
                                       HOFFMAN & ZELDES LLP
19
                                 By:         /s/ John Washington
20                                     PAUL HOFFMAN, Esq.
                                       CATHERINE SWEETSER, Esq.
21                                     JOHN WASHINGTON, Esq.
22                                     Attorneys for Plaintiff, MARINA BORAWICK

23
      Dated: April 4, 2023             HYDEE FELDSTEIN SOTO, City Attorney
24                                     SCOTT MARCUS, Chief Assistant City Attorney
                                       CORY M. BRENTE, Sr. Assistant City Attorney
25
26                               By:         Surekha A. Shepherd
27                                     SUREKHA A. SHEPHERD, Deputy City Attorney
                                       Attorneys for Defendants, CITY OF LOS ANGELES,
28                                     PETER CORREA, and STEVE REYES

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